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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 In re:
                                                         Chapter 11
 LIVE PRIMARY, LLC,
                                                         Case No. 20–11612 (MG)
                                Debtor.


    STIPULATION AND ORDER ADMITTING INTO EVIDENCE EXHIBITS FOR
                     EVIDENTIARY HEARING ON
          OBJECTION TO CLAIM No. 8 OF PRIMARY MEMBER, LLC

              This Stipulation is entered into by and among: Live Primary, LLC (the

“Debtor”), Primary Member, LLC (“PM”), and David Kirshenbaum as Investor Representative

for the Noteholders (the “Noteholders”) (collectively, the “Parties”):

              1.      The Parties stipulate to the admission of Debtor’s and Noteholders’ joint

Exhibits 1-32, 35-37, 39, 41-44, 46-48 and 50-52 filed at Docket No. 111.

              2.      The Parties stipulate to the admissions of PM’s Exhibits 1-11 filed at

Docket No. 116.

              3.      Attached is the Parties’ combined Exhibit list, indicating which Exhibits

have been admitted by stipulation.

              4.      The Parties stipulate to the admission of the following portions of the

deposition transcript of Lisa Skye Hain, Debtor’s and Noteholder’s Exhibit 53 filed at Docket

No. 112:

                    a. Page 4, Lines 8-24

                    b. Page 11, Lines 3-5

                    c. Page 13, Lines 5-22

                    d. Page 14, Lines 5-12

                    e. Page 18, Lines 3-18
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               f. Page 24, Lines 12-24

               g. Page 25, Lines 1-5

               h. Page 27, Lines 18-24

               i. Page 28, Lines 1-12

               j. Page 30, Lines 16-24

               k. Page 32, Lines 12-19

               l. Page 33, Lines 19-34

               m. Page 34, Lines 13-24

               n. Page 37, Lines 4-9

               o. Page 40, Lines 10-20

               p. Page 45, Lines 13-20

               q. Page 46, Lines 6-16

               r. Page 49, Lines 2-15

               s. Page 50, Lines 16-21

               t. Page 51, Lines 4-20

               u. Page 57, Lines 4-19

               v. Page 59, Lines 11-18

               w. Page 60, Lines 7-15

               x. Page 61, Lines 22-24

               y. Page 62, Lines 1-12

               z. Page 64, Lines 1-16

               aa. Page 65, Lines 11-22

               bb. Page 67, Lines 1-14

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               cc. Page 67, Lines 19-24

               dd. Page 68, Lines 1-3

               ee. Page 69, Lines 22-24

               ff. Page 70, Lines 13-24

               gg. Page 72, Lines 17-22

               hh. Page 73, Lines 21-24

               ii. Page 74, Lines 1-2

               jj. Page 78, Lines 20-24

               kk. Page 79, Lines 1-21

               ll. Page 80, Lines 10-23

               mm.       Page 82, Lines 18-23

               nn. Page 91, Lines 17-24

               oo. Page 92, Lines 1-22

               pp. Page 93, Lines 3-9

               qq. Page 93, Lines 17-20

               rr. Page 94, Lines 3-8

               ss. Page 96, Lines 19-21

               tt. Page 100, Lines 21-24

               uu. Page 101, Line 1

               vv. Page 102, Lines 17-24

               ww.       Page 103, Lines 1-2

               xx. Page 103, Lines 2-24

               yy. Page 104, Lines 1-9

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                     zz. Page 105, Lines 7-10

                     aaa.      Page 110, Lines 4-24

                     bbb.      Page 111, Lines 1-7

                     ccc.      Page 112, Lines 17-24

                     ddd.      Page 114, Lines 10-20

                     eee.      Page 117, Lines 1-10

                     fff. Page 118, Lines 8-24

                     ggg.      Page 119, Lines 1-4

                     hhh.      Page 129, Lines 4-18

                     iii. Page 142, Lines 16-19

                     jjj. Page 143, Lines 3-10

                     kkk.      Page 161, Lines 5-18

                     lll. Page 162, Lines 8-11

                     mmm.



               5.       The Parties stipulate to the admission of the following portions of the

deposition transcript of Joel Schreiber, Debtor’s and Noteholder’s Exhibit 54, filed at Docket No.

113:

                     a. Page 16, Lines 3-9

                     b. Page 22, Lines 12-15, 21-22

                     c. Page 26, Lines 6-25

                     d. Page 27, Lines 1-10

                     e. Page 28, Lines 13-25

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                  f. Page 31, Lines 14-22

                  g. Page 45, Line 12 through Page 47, Line 25

                  h. Page 73, Line 11 through Page 74, Line 15

                  i. Page 103, Lines 7-16

                  j. Page 103, Lines 18-23

                  k. Page 108, Lines 6-9

                  l. Page 112, Lines 8-16




 Dated: Bloomfield Hills, Michigan               Dated: New York, New York
        February 8, 2021                                February 8, 2021

 David Kirshenbaum as Investor                   Live Primary, LLC, the Debtor
 Representative for the Noteholders              By its Attorneys
 By his Attorneys                                Rosen & Associates, P.C.
 Schafer & Weiner, PLLC                          By:
 By:
                                                 /s/ Sanford P. Rosen
 /s/ Daniel J. Weiner                            SANFORD P. ROSEN, ESQ.
 DANIEL J. WEINER, ESQ.                          A Member of the Firm
 A Member of the Firm                            747 Third Avenue, 20th Floor
 40950 Woodward Avenue, Suite 100                New York, New York 10017
 Bloomfield Hills, MI 48304                      (212) 223-1100
 (248)540-3340                                   srosen@rosenpc.com
 dweiner@shaferandweiner.com




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Dated: New York, New York
       February 8, 2021

Primary Member, LLC
By its Attorneys
Goldberg Weprin Finkel
Goldstein LLP
By:

/s/ Kevin Nash___________
KEVIN NASH, ESQ.
A Member of the Firm
1501 Broadway, 22nd Floor
New York, New York 10036
(212) 221-5700
knash@gwfglaw.com



SO ORDERED.
Dated: February 9, 2021
       New York, New York

                                        _____/s/ Martin Glenn_______
                                               MARTIN GLENN
                                        United States Bankruptcy Judge




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                                            Evidentiary Hearing Exhibit List

No.   Date        Document/Description                                                                PM Bate     Stip to
                                                                                                      Stamp #     Admit
                  Debtor and Noteholder Exhibits


1     11.04.20    Proof of Claim filed by Primary Member, LLC Claim#8                                               Y

2     01.25.21    Waterbridge Capital Website as of January 25, 2021                                                Y
3     7.28.15     Limited Liability Company Agreement of Primary, LLC dated as of                                   Y
                  July 28, 2015 (1st Operating Agreement)

4     12.15.17    First Amendment to Limited Liability Company Agreement of Live Primary, LLC                       Y
                  dated as of December 15, 2017 (2nd Operating Agreement)

5     06.14.19    First Amended & Restated Limited Liability Company Agreement of Live Primary,        15-66        Y
                  LLC (3rd Operating Agreement)

6     7.28.15     LLCA of Primary Member, LLC                                                         115-136       Y

7     5.15.15     Email string between Skye Hain and Schrieber                                          209         Y
8     8.19.15     Email string between Skye Hain and Schrieber                                          258         Y
9     10.07.15    Email string between Skye Hain and Schrieber                                          280         Y
10    10.08.15    Email string between Skye Hain and Schrieber                                          281         Y
                  Projected Expense Report 10-01-15 -- 10-31-15 (part of 10)                            282         Y

12                Use of Funds Report (part of 10)                                                      283         Y

13    11.9.15     Email string between Skye Hain and Schrieber                                        318 – 319     Y
14    12.30.15    Email string between Skye Hain and Schrieber                                           335        Y
15    01.17.16    Email string between Skye Hain and Schrieber                                           340        Y
16    01.15.16    Email string between Skye Hain and Schrieber                                           342        Y
17    01.18.16    Email string between Skye Hain and Schrieber                                           343        Y
18    01.23.16    Email string between Skye Hain and Schrieber                                        349 – 350     Y
19    01.25.16    Email string between Skye Hain and Schrieber                                           354        Y
20    01.28.16    Email string between Skye Hain and Schrieber                                           358        Y
21    02.26.16    Email string between Skye Hain and Schrieber                                           365        Y
22    02.26.16    Email string between Skye Hain and Schrieber                                           387        Y
23    02.26.16    Email string between Skye Hain and Schrieber                                           388        Y
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24   02.26.16       Email string between Skye Hain and Schrieber                                        390       Y
25   03.07.16       Letter to Joel Schreiber dated March 7, 2016                                        403       Y

26   04.01.16       Email string between Skye Hain and Schrieber                                      455 – 459   Y
27   04.19.16       Email string between Skye Hain and Schrieber                                         497      Y
28   04.22.16       Email string between Skye Hain and Schrieber                                         511      Y
29   04.25.16       Email string between Skye Hain and Schrieber                                         516      Y
30   04.25.16       Email string between Skye Hain and Schrieber                                         531      Y
31   5.3.16         Email string between Skye Hain and Schrieber                                         547      Y
32   8.1.16         Email string between Skye Hain and Schrieber                                         629      Y
33   8.24.16        Email string between Skye Hain and Schrieber                                         654
34   9.21.16        Email string between Skye Hain and Feldman                                           874
35   9.24.16        Email string between Skye Hain and Schrieber                                         885      Y
36   9.16           Draft Loan Agreement and Promissory Note to Kelly Noonan                          886 – 889   Y

37   9.24.16        Email string between Skye Hain and Schrieber                                         891      Y
38   10.4.17        Email string between Skye Hain and Schrieber                                       1202 –
                                                                                                        1204

39   2.1.18         Email string between Skye Hain and Schrieber                                        1217      Y
40   4.12.18        Email string between Skye Hain and Schrieber                                        1231
41   5.16.18        Email string between Skye Hain and Schrieber                                        1247      Y
42   6.8.18         Email string between Skye Hain and Schrieber                                        1269      Y
43   6.19.18        Email string between Skye Hain and Schrieber                                        1273      Y
44   6.22.18        Email string between Skye Hain and Fundera                                         1274 -     Y
                                                                                                        1275

45   7.19.18        Email string between Skye Hain and Scarlo                                          1294 -
                                                                                                        1297
46   12.31.18       Balance Sheet (Exhibit 2 Skye Hain Deposition)                                                Y
47   Jan-Apr. 19    Live Primary Statement of Cash Flows (LP009793-009794                                         Y
48   11.9.20        Debtor’s Plan of Reorganization                                                               Y
49   07.11.19       Email string between Skye Hain and Schrieber

50   09.19.19       Email string between Skye Hain and Schrieber                                                  Y
51   01.25.21       Schreiber Declaration                                                                         Y
52   01.25.21       Skye Hain Declaration                                                                         Y
53   1.28.21        Skye Hain Deposition Transcript
54   1.27.21        Joel Schreiber Deposition Transcript

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                 Primary Member, LLC Exhibits

1    1.25.21     Schreiber Declaration                                                                Y
2    11.4.20     Proof of Claim filed by Primary Member, LLC Claim #8                                 Y

3    7.28.15     Limited Liability Company Agreement of Primary, LLC dated as of                      Y
                 July 28, 2015 (1st Operating Agreement)

4    12.15.17    First Amendment to Limited Liability Company Agreement of Live Primary, LLC          Y
                 dated as of December 15, 2017 (2nd Operating Agreement)

5    6.14.19     First Amended & Restated Limited Liability Company Agreement of Live Primary,        Y
                 LLC (3rd Operating Agreement)

6    6.30.16     Financial Statement Balance Sheet - Live Primary LLC                                 Y
7    12.31.18    Financial Statement Balance Sheet - Live Primary LLC                                 Y
8    12.31.19    Financial Statement Balance Sheet - Live Primary LLC                                 Y
9    12.13.19    Balance Sheet (from tax return) - Live Primary LLC                                   Y
10   12.31.19    Balance Sheet (from tax return) - Live Primary LLC                                   Y
11   12.20.17    Lisa Hain Email - re: Debt to Primary Member LLC                                     Y
12   12.28.21    Transcript of Lisa Sky Hain – Examination Before Trial




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